Case 1:13-cv-01835-RGA Document 317-2 Filed 06/05/17 Page 1 of 12 PageID #: 9862




                        EXHIBIT B
Case 1:13-cv-01835-RGA Document 317-2 Filed 06/05/17 Page 2 of 12 PageID #: 9863
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                                                                                                                          US007292627B2


   (12)   United States Patent                                                                   (10)     Patent No.:     US 7,292,627 B2
          Tzannes                                                                                (45)     Date of Patent:     *Nov. 6,2007

   (54)    SYSTEM AND METHOD FOR SCRAMBLING                                                        4,985,900 A                111991 Rhind et al.
           THE PHASE OF THE CARRIERS IN A                                                          5,748,677 A                5/1998 Kumar
           MULTICARRIER COMMUNICATIONS                                                             6,256,355 Bl       *       7/2001 Sakoda et al. .............. 375/259
           SYSTEM
                                                                                                                                (Continued)
   (75)    Inventor:       Marcos C. Tzannes, Orinda, CA (US)                                                 FOREIGN PATENT DOCUMENTS
   (73)    Assignee: Aware, inc., Bedford, MA (US)                                          EP                     0584534 Al                3/1994

   ( *)    Notice:         Subject to any disclaimer, the term of this                                                          (Continued)
                           patent is extended or adjusted under 35
                           U.S.c. 154(b) by 268 days.                                                               OTHER PUBLICATIONS
                                                                                            Bauml, R. W. et aI., "Reducing the Peak-to-Average Power Ratio of
                           This patent is subject to a terminal dis-                        Multicarrier Modulation By Selected Mapping", Electronic Letters,
                           claimer.                                                         GB, IEE Stevenage, vol. 32, No. 22, Oct. 24, 1996, pp. 2056-2057,
                                                                                            XP000643915 ISSN: 0013-5194.
   (21)    Appl. No.: 111211,535
                                                                                                                                (Continued)
   (22)    Filed:          Aug. 26, 2005                                                    Primary Examiner-Mohammed Ghayour
                                                                                            Assistant Examiner-Lawrence Williams
   (65)                      Prior Publication Data                                         (74) Attorney, Agent, or Firm-Sheridan Ross P.c.; Jason H.
           US 2006/0002454 Al                   Jan. 5, 2006                                Vick

                    Related U.S. Application Data                                           (57)                               ABSTRACT
   (63)    Continuation of application No. 091710,310, filed on
                                                                                            A system and method that scrambles the phase characteristic
           Nov. 9, 2000, now Pat. No. 6,961,369.
                                                                                            of a carrier signal are described. The scrambling of the phase
   (51)    Int. Cl.                                                                         characteristic of each carrier signal includes associating a
           H04B 1/38                   (2006.01)                                            value with each carrier signal and computing a phase shift
           H04B 17/00                  (2006.01)                                            for each carrier signal based on the value associated with
                                                                                            that carrier signal. The value is determined independently of
   (52)    U.S. Cl. ....................................... 3751222; 375/219
                                                                                            any input bit value carried by that carrier signal. The phase
   (58)    Field of Classification Search ................ 375/220,
                                                                                            shift computed for each carrier signal is combined with the
                    375/222,219,226,260,327,362; 370/203,
                                                                                            phase characteristic of that carrier signal so as to substan-
                                                                370/342, 206
                                                                                            tially scramble the phase characteristic of the carrier signals.
           See application file for complete search history.
                                                                                            Bits of an input signal are modulated onto the carrier signals
   (56)                      References Cited                                               having the substantially scrambled phase characteristic to
                                                                                            produce a transmission signal with a reduced PAR.
                     U.S. PATENT DOCUMENTS
          3,955,141 A          511976 Lyon et al.                                                                  39 Claims, 2 Drawing Sheets


                                                                  44

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                                         "~
                                        /II
                                                                                  "',                                                            11
                       -    ~~
                               ;/
                               S4
                                    Scrambler

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                                                       QAM
                                                      Encoder
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                                                                           Phase
                                                                          Scrambler




                                                                          Modulator
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                                                                                            ,       38
                                                                                                   !II


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                                                                                                                                Receiver


                                                                                                                               Scrambler
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                                    l                  Receiver
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                                                                                                                               Transmitter
                                                                                                                                             r   V


                                                                                                                                Remote
                                                                                                                              Transceiver
                                                                                                                                  11
                                                  Transceiver 1Q                                         18
Case 1:13-cv-01835-RGA Document 317-2 Filed 06/05/17 Page 3 of 12 PageID #: 9864


                                                                US 7,292,627 B2
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             FOREIGN PATENT DOCUMENTS                                           Annex to Form PCT/ISAl206 for PCTIUSOO/30958, Mar. 23, 2001.

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        Case 1:13-cv-01835-RGA Document 317-2 Filed 06/05/17 Page 4 of 12 PageID #: 9865




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              76      BAT                                                                                   34
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                                   5
                    Encoder         5                                                                              Z
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       /Y              42          5a--.
                                                            ;11            f\            Receiver            66'   ~Cl\


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      54                                                                                                           0
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                                           Modulator                                      Phase                    -....l
                                              46           70                            Scrambler
                                                                                                       II          rFJ
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                                                                                                                   ('D

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                      Receiver                 -:..                    \        I   I    Transmitter                ....
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                                                                                                                    N




                                                                                          Remote
                                                                                        Transceiver
                                                                                            14
                   Transceiver 10                                 18                                                d
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                                                        Fig. 1                                                      N
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Case 1:13-cv-01835-RGA Document 317-2 Filed 06/05/17 Page 5 of 12 PageID #: 9866


  u.s. Patent                  Nov. 6,2007      Sheet 2 of 2        US 7,292,627 B2




       STEP 100                    GENERATE VALUE(S)




       STEP 110 ---1
                      r------------ ------------:
                          COMMUNICATE VALUE(S}
                    :              TO SYNCHRONIZE      :
                      ....   _-----------  ------------

       STEP 115                  COMPUTE PHASE SHIFT




                               COMBINE PHASE SHIFT WITH
       STEP 120   -             PHASE CHARACTERISTIC
                                                               ~   -----,



                             COMBINE CARRIER SIGNALS INTO
       STEP 130 -
                                A TRANSMISSION SIGNAL




       STEP 160              TRANSMIT TRANSMISSION SIGNAL


                                             FIG. 2
Case 1:13-cv-01835-RGA Document 317-2 Filed 06/05/17 Page 6 of 12 PageID #: 9867


                                                       US 7,292,627 B2
                                1                                                                       2
     SYSTEM AND METHOD FOR SCRAMBLING                                    certain number of symbols. An example of the PAR of a
        THE PHASE OF THE CARRIERS IN A                                   transmission signal transmitted from a DMT transmitter is
       MULTICARRIER COMMUNICATIONS                                       14.5 dB, which is equivalent to having a lE-7 probability of
                   SYSTEM                                                clipping. The PAR of a transmission signal transmitted and
                                                                         received in a DMT communication system is an important
                  RELATED APPLICATION                                    consideration in the design of the DMT communication
                                                                         system because the PAR of a signal affects the communi-
     This application claims the benefit of the filing date of           cation system's total power consumption and component
  copending u.s. Provisional Application, Ser. No. 601164,               linearity requirements of the system.
  134, filed Nov. 9, 1999, entitled "A Method For Random-           10      If the phase of the modulated carriers is not random, then
  izing The Phase Of The Carriers In A Multicarrier Commu-               the PAR can increase greatly. Examples of cases where the
  nications System To Reduce The Peak To Average Power                   phases of the modulated carrier signals are not random are
  Ratio Of The Transmitted Signal," the entirety of which                when bit scramblers are not used, multiple carrier signals are
  provisional application is incorporated by reference herein.           used to modulate the same input data bits, and the constel-
                                                                    15   lation maps, which are mappings of input data bits to the
                 FIELD OF THE INVENTION                                  phase of a carrier signal, used for modulation are not random
                                                                         enough (i.e., a zero value for a data bit corresponds to a 90
     This invention relates to communications systems using              degree phase characteristic of the DMT carrier signal and a
  multicarrier modulation. More particularly, the invention              one value for a data bit corresponds to a -90 degree phase
  relates to multicarrier communications systems that lower         20   characteristic of the DMT carrier signal). An increased PAR
  the peak-to-average power ratio (PAR) of transmitted sig-              can result in a system with high power consumption and/or
  nals.                                                                  with high probability of clipping the transmission signal.
                                                                         Thus, there remains a need for a system and method that can
           BACKGROUND OF THE INVENTION                                   effectively scramble the phase of the modulated carrier
                                                                    25   signals in order to provide a low PAR for the transmission
     In a conventional multicarrier communications system,               signal.
  transmitters communicate over a communication channel
  using multicarrier modulation or Discrete Multitone Modu-                          SUMMARY OF THE INVENTION
  lation (DMT). Carrier signals (carriers) or sub-channels
  spaced within a usable frequency band of the communica-           30
                                                                            The present invention features a system and method that
  tion channel are modulated at a symbol (i.e., block) trans-
                                                                         scrambles the phase characteristics of the modulated carrier
  mission rate of the system. An input signal, which includes
                                                                         signals in a transmission signal. In one aspect, a value is
  input data bits, is sent to a DMT transmitter, such as a DMT
                                                                         associated with each carrier signal. A phase shift is com-
  modem. The DMT transmitter typically modulates the phase
                                                                         puted for each carrier signal based on the value associated
  characteristic, or phase, and amplitude of the carrier signals    35
                                                                         with that carrier signal. The value is determined indepen-
  using an Inverse Fast Fourier Transform (IFFT) to generate
                                                                         dently of any input bit value carried by that carrier signal.
  a time domain signal, or transmission signal, that represents
                                                                         The phase shift computed for each carrier signal is combined
  the input signal. The DMT transmitter transmits the trans-
                                                                         with the phase characteristic of that carrier signal to sub-
  mission signal, which is a linear combination of the multiple
                                                                         stantially scramble the phase characteristics of the carrier
  carriers, to a DMT receiver over the communication chan-          40
                                                                         signals.
  nel.
     The phase and amplitude of the carrier signals of DMT                  In one embodiment, the input bit stream is modulated onto
  transmission signal can be considered random because the               the carrier signals having the substantially scrambled phase
  phase and amplitude result from the modulation of an                   characteristic to produce a transmission signal with a
  arbitrary sequence of input data bits comprising the trans-       45   reduced peak-to-average power ratio (PAR). The value is
  mitted information. Therefore, under the condition that the            derived from a predetermined parameter, such as a random
  modulated data bit stream is random, the DMT transmission              number generator, a carrier number, a DMT symbol count,
  signal can be approximated as having a Gaussian probability            a superframe count, and a hyperframe count. In another
  distribution. A bit scrambler is often used in the DMT                 embodiment, a predetermined transmission signal is trans-
  transmitter to scramble the input data bits before the bits are   50
                                                                         mitted when the amplitude of the transmission signal
  modulated to assure that the transmitted data bits are random          exceeds a certain level.
  and, consequently, that the modulation of those bits pro-                 In another aspect, the invention features a method
  duces a DMT transmission signal with a Gaussian probabil-              wherein a value is associated with each carrier signal. The
  ity distribution.                                                      value is determined independently of any input bit value
     With an appropriate allocation of transmit power levels to     55   carried by that carrier signal. A phase shift for each carrier
  the carriers or sub-channels, such a system provides a                 signal is computed based on the value associated with that
  desirable performance. Further, generating a transmission              carrier signal. The transmission signal is demodulated using
  signal with a Gaussian probability distribution is important           the phase shift computed for each carrier signal.
  in order to transmit a transmission signal with a low peak-               In another aspect, the invention features a system com-
  to-average ratio (PAR), or peak-to-average power ratio. The       60   prising a phase scrambler that computes a phase shift for
  PAR of a transmission signal is the ratio of the instantaneous         each carrier signal based on a value associated with that
  peak value (i.e., maximum magnitude) of a signal parameter             carrier signal. The phase scrambler also combines the phase
  (e.g., voltage, current, phase, frequency, power) to the               shift computed for each carrier signal with the phase char-
  time-averaged value of the signal parameter. In DMT sys-               acteristic of that carrier signal to substantially scramble the
  tems, the PAR of the transmitted signal is determined by the      65   phase characteristic of the carrier signals. In one embodi-
  probability of the random transmission signal reaching a               ment, a modulator, in communication with the phase scram-
  certain peak voltage during the time interval required for a           bler, modulates bits of an input signal onto the carrier signals
Case 1:13-cv-01835-RGA Document 317-2 Filed 06/05/17 Page 7 of 12 PageID #: 9868


                                                       US 7,292,627 B2
                                3                                                                      4
  having the substantially scrambled phase characteristics to            encoder 42 maps the input serial bit-stream 54 in the time
  produce a transmission signal with a reduced PAR.                      domain into parallel QAM symbols 58 in the frequency
                                                                         domain. In particular, the QAM encoder 42 maps the input
            DESCRIPTION OF THE DRAWINGS                                  serial data bit stream 54 into N parallel quadrature amplitude
                                                                         modulation (QAM) constellation points 58, or QAM sym-
     The invention is pointed out with particularity in the              bols 58, where N represents the number of carrier signals
  appended claims. The advantages of the invention described             generated by the modulator 46. The BAT 44 is in commu-
  above, as well as further advantages of the invention, may be
                                                                         nication with the QAM encoder 42 to specifY the number of
  better understood by reference to the following description
                                                                         bits carried by each carrier signal. The QAM symbols 58
  taken in conjunction with the accompanying drawings, in
                                                                    10   represent the amplitude and the phase characteristic of each
  which:
                                                                         carrier signal.
     FIG. 1 is a block diagram of an embodiment of a digital
  subscriber line communications system including a DMT                     The modulator 46 provides functionality associated with
  (discrete multitone modulation) transceiver, in communica-             the DMT modulation and transforms the QAM symbols 58
  tion with a remote transceiver, having a phase scrambler for      15   into DMT symbols 70 each comprised of a plurality of
  substantially scrambling the phase characteristics of carrier          time-domain samples. The modulator 46 modulates each
  signals; and                                                           carrier signal with a different QAM symbol 58. As a result
     FIG. 2 is a flow diagram of an embodiment of a process              of this modulation, carrier signals have phase and amplitude
  for scrambling the phase characteristics of the carrier signals        characteristics based on the QAM symbol 58 and therefore
  in a transmission signal.                                         20   based on the input-bit stream 54. In particular, the modulator
                                                                         46 uses an inverse fast Fourier transform (IFFT) to change
                  DETAILED DESCRIPTION                                   the QAM symbols 58 into a transmission signal 38 com-
                                                                         prised of a sequence ofDMT symbols 70. The modulator 46
     FIG. 1 shows a digital subscriber line (DSL) communi-               changes the QAM symbols 58 into DMT symbols 70
  cation system 2 including a discrete multitone (DMT) trans-       25   through modulation of the carrier signals. In another
  ceiver 10 in communication with a remote transceiver 14                embodiment, the modulator 46 uses the inverse discrete
  over a communication chaunel 18 using a transmission                   Fourier transform (IDFT) to change the QAM symbols 58
  signal 38 having a plurality of carrier signals. The DMT               into DMT symbols 70. In one embodiment, a pilot tone is
  transceiver 10 includes a DMT transmitter 22 and a DMT                 included in the transmission signal 38 to provide a reference
  receiver 26. The remote transceiver 14 includes a transmitter     30   signal for coherent demodulation of the carrier signals in the
  30 and a receiver 34. Although described with respect to               remote receiver 34 during reception of the transmission
  discrete multitone modulation, the principles of the inven-            signal 38.
  tion apply also to other types of multicarrier modulation,                The modulator 46 also includes a phase scrambler 66 that
  such as, but not limited to, orthogonally multiplexed quadra-          combines a phase shift computed for each QAM-modulated
  ture amplitude modulation (OQAM), discrete wavelet mul-           35   carrier signal with the phase characteristic of that carrier
  titone (DWMT) modulation, and orthogonal frequency divi-               signal. Combining phase shifts with phase characteristics, in
  sion multiplexing (OFDM).                                              accordance with the principles of the invention, substantially
     The communication chaunel 18 provides a downstream                  scrambles the phase characteristics of the carrier signals in
  transmission path from the DMT transmitter 22 to the                   the transmission signal 38. By scrambling the phase char-
  remote receiver 34, and an upstream transmission path from        40   acteristics of the carrier signals, the resulting transmission
  the remote transmitter 30 to the DMT receiver 26. In one               signal 38 has a substantially minimized peak-to-average
  embodiment, the communication channel 18 is a pair of                  (PAR) power ratio. The phase scrambler 66 can be part of or
  twisted wires of a telephone subscriber line. In other                 external to the modulator 46. Other embodiments of the
  embodiments, the communication channel 18 can be a fiber               phase scrambler 66 include, but are not limited to, a software
  optic wire, a quad cable, consisting of two pairs of twisted      45   program that is stored in local memory and is executed on
  wires, or a quad cable that is one of a star quad cable, a             the modulator 46, a digital signal processor (DSP) capable
  Dieselhorst-Martin quad cable, and the like. In a wireless             of performing mathematical functions and algorithms, and
  communication system wherein the transceivers 10, 14 are               the like. The remote receiver 34 similarly includes a phase
  wireless modems, the communication channel 18 is the air               scrambler 66' for use when demodulating carrier signals that
  through which the transmission signal 38 travels between          50   have had their phase characteristics adjusted by the phase
  the transceivers 10, 14.                                               scrambler 66 of the DMT transceiver 10.
     By way of example, the DMT transmitter 22 shown in                     To compute a phase shift for each carrier signal, the phase
  FIG. 1 includes a quadrature amplitude modulation (QAM)                scrambler 66 associates one or more values with that carrier
  encoder 42, a modulator 46, a bit allocation table (BAT) 44,           signal. The phase scrambler 66 determines each value for a
  and a phase scrambler 66 The DMT transmitter 22 can also          55   carrier signal independently of the QAM symbols 58, and,
  include a bit scrambler 74, as described further below. The            therefore, independently of the bit value( s) modulated onto
  remote transmitter 30 of the remote transceiver 14 comprises           the carrier signal. The actual value(s) that the phase scram-
  equivalent components as the DMT transmitter 22. Although              bler 66 associates with each carrier signal can be derived
  this embodiment specifies a detailed description of the DMT            from one or more predefined parameters, such as a pseudo-
  transmitter 22, the inventive concepts apply also to the          60   random number generator (pseudo-RNG), a DMT carrier
  receivers 34, 36 which have similar components to that of              number, a DMT symbol count, a DMT superframe count, a
  the DMT transmitter 22, but perform inverse functions in a             DMT hyperframe count, and the like, as described in more
  reverse order.                                                         detail below. Irrespective of the technique used to produce
     The QAM encoder 42 has a single input for receiving an              each value, the same technique is used by the DMT trans-
  input serial data bit stream 54 and multiple parallel outputs     65   mitter 22 and the remote receiver 34 so that the value
  to transmit QAM symbols 58 generated by the QAM                        associated with a given carrier signal is known at both ends
  encoder 42 from the bit stream 54. In general, the QAM                 of the communication channel 18.
Case 1:13-cv-01835-RGA Document 317-2 Filed 06/05/17 Page 8 of 12 PageID #: 9869


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     The phase scrambler 66 then solves a predetermined                    with the transmitter pseudo-RNG), the DMT transmitter 22
  equation to compute a phase shift for the carrier signal, using          can transmit the value to the remote receiver 34 (or vice
  the value(s) associated with that carrier signal as input that           versa) over the communication channel 18.
  effects the output of the equation. Any equation suitable for               In other embodiments, other predefined parameters can be
  computing phase shifts can be used to compute the phase                  used in conjunction with the symbol count. One example of
  shifts. When the equation is independent of the bit values of
                                                                           such a predefined parameter is the superframe count that
  the input serial bit stream 54, the computed phase shifts are
                                                                           increments by one every 69 DMT symbols. One exemplary
  also independent of such bit values.
                                                                           implementation that achieves the superframe counter is to
     In one embodiment (shown in phantom), the DMT trans-
  mitter 22 includes a bit scrambler 74, which receives the           10
                                                                           perform a modulo 68 operation on the symbol count. As
  input serial bit stream 54 and outputs data bits 76 that are             another example, the DMT transmitter 22 can maintain a
  substantially scrambled. The substantially scrambled bits 76             hyperframe counter for counting hyperframes. An exem-
  are then passed to the QAM encoder 42. When the bit                      plary implementation of the hyperframe count is to perform
  scrambler 74 is included in the DMT transmitter 22, the                  a modulo 255 operation on the superframe count. Thus, the
  operation of the phase scrambler 66 further assures that the        15   hyperframe count increments by one each time the super-
  transmission signal 38 has a Gaussian probability distribu-              frame count reaches 255.
  tion and, therefore, a substantially minimized PAR.                         Accordingly, it is seen that some predefined parameters
     FIG. 2 shows embodiments of a process used by the DMT                 produce values that vary from carrier signal to carrier signal.
  transmitter 22 for adjusting the phase characteristic of each            For example, when the predefined parameter is the DMT
  carrier signal and combining these carrier signals to produce       20   carrier number, values vary based on the frequency of the
  the transmission signal 38. The DMT transmitter 22 gener-                carrier signal. As another example, the pseudo-RNG gener-
  ates (step 100) a value that is associated with a carrier signal.        ates a new random value for each carrier signal.
  Because the value is being used to alter the phase charac-
                                                                              Other predefined parameters produce values that vary
  teristics of the carrier signal, both the DMT transmitter 22
                                                                           from DMT symbol 70 to DMT symbol 70. For example,
  and the remote receiver 34 must recognize the value as being        25
                                                                           when the predefined parameter is the symbol count, the
  associated with the carrier signal. Either the DMT transmit-
                                                                           superframe count, or hyperframe count, values vary based
  ter 22 and the remote receiver 34 independently derive the
                                                                           on the numerical position of the DMT symbol 70 within a
  associated value, or one informs the other of the associated
                                                                           sequence of symbols, superframes, or hyperframes. Pre-
  value. For example, in one embodiment the DMT transmit-
                                                                           defined parameters such as the pseudo-RNG, symbol count,
  ter 22 can derive the value from a pseudo-RNG and then              30
                                                                           superframe count, and superframe can also be understood to
  transmit the generated value to the remote receiver 34. In
                                                                           be parameters that vary values over time. Anyone or
  another embodiment, the remote receiver 34 similarly
                                                                           combination of the predefined parameters can provide val-
  derives the value from the same pseudo-RNG and the same
                                                                           ues for input to the equation that computes a phase shift for
  seed as used by the transmitter (i.e., the transmitter pseudo-
                                                                           a given carrier signal.
  RNG produces the same series of random numbers as the               35
  receiver pseudo-RNG).                                                       In one embodiment, the phase scrambling is used to avoid
     As another example, the DMT transmitter 22 and the                    clipping of the transmission signal 38 on a DMT symbol 70
  remote receiver 34 can each maintain a symbol counter for                by DMT symbol 70 basis. In this embodiment, the DMT
  counting DMT symbols. The DMT transmitter 22 incre-                      transmitter 22 uses a value based on a predefined parameter
  ments its symbol counter upon transmitting a DMT symbol;            40   that varies over time, such as the symbol count, to compute
  the remote receiver 34 upon receipt. Thus, when the DMT                  the phase shift. It is to be understood that other types of
  transmitter 22 and the remote receiver 34 both use the                   predefined parameters that vary the values associated with
  symbol count as a value for computing phase shifts, both the             carrier signals can be used to practice the principles of the
  DMT transmitter 22 and remote receiver 34 "know" that the                invention. As described above, the transceivers 10, 14 may
  value is associated with a particular DMT symbol and with           45   communicate (step 110) the values to synchronize their use
  each carrier signal of that DMT symbol.                                  in modulating and demodulating the carrier signals.
     Values can also be derived from other types of predefined                The DMT transmitter 22 then computes (step 115) the
  parameters. For example, if the predefined parameter is the              phase shift that is used to adjust the phase characteristic of
  DMT carrier number, then the value associated with a                     each carrier signal. The amount of the phase shift combined
  particular carrier signal is the carrier number of that signal      50   with the phase characteristic of each QAM-modulated car-
  within the DMT symbol. The number of a carrier signal                    rier signal depends upon the equation used and the one or
  represents the location of the frequency of the carrier signal           more values associated with that carrier signal.
  relative to the frequency of other carrier signals within a                 The DMT transmitter 22 then combines (step 120) the
  DMT symbol. For example, in one embodiment the DSL                       phase shift computed for each carrier signal with the phase
  communication system 2 provides 256 carrier signals, each           55   characteristic of that carrier signal. By scrambling the phase
  separated by a frequency of 4.3125 kHz and spauning the                  characteristics of the carrier signals, the phase scrambler 66
  frequency bandwidth from 0 kHz to 1104 kHz. The DMT                      reduces (with respect to unscrambled phase characteristics)
  transmitter 22 numbers the carrier signals from 0 to 255.                the combined PAR of the plurality of carrier signals and,
  Therefore, "DMT carrier number 50" represents the 51st                   consequently, the transmission signal 38. The following
  DMT carrier signal which is located at the frequency of             60   three phase shifting examples, PS #1-PS #3, illustrate meth-
  215.625 kHz (i.e., 51x4.3125 kHz).                                       ods used by the phase scrambler 66 to combine a computed
     Again, the DMT transmitter 22 and the remote receiver 34              phase shift to the phase characteristic of each carrier signal.
  can know the value that is associated with the carrier signal
  because both the DMT transmitter 22 and the remote                       Phase Shifting Example #1
  receiver 34 use the same predefined parameter (here, the            65      Phase shifting example #1 (PS #1) corresponds to adjust-
  DMT carrier number) to make the value-carrier signal                     ing the phase characteristic of the QAM-modulated carrier
  association. In other embodiments (as exemplified above                  signal associated with a carrier number N by
Case 1:13-cv-01835-RGA Document 317-2 Filed 06/05/17 Page 9 of 12 PageID #: 9870


                                                                    US 7,292,627 B2
                                              7                                                               8
                                                                               5 and X N equal to [3, 8, 1, 4, 9, 5, ... 1 has a phase shift
                                                                               added to the phase characteristic of the carrier signal that is
                                                                               equal to


                                                                                                         Jr           3Jr
  modulo (mod) 2Jt. In this example, a carrier signal having a                                      (9)x"6 (mod 2n) = 2-
  carrier number N equal to 50 has a phase shift added to the
  phase characteristic of that carrier signal equal to
                                                                          10   (Note that 9 is the 5th value in X N .) The carrier signal with
                                                                               a carrier number N equal to 6 has a phase shift added to the
                              Jr                          2
                       50 x   3 (mod              2n) =   3Jr ·                phase characteristic of the carrier signal equal to


                                                                          15                               Jr          5Jr
  The carrier signal with a carrier number N equal to 51 has                                         (5) x"6 (mod2n) = 6'
  a phase shift added to the phase characteristic of that carrier
  signal equal to
                                                                                  It is to be understood that additional and/or different phase
                                                                          20   shifting techniques can be used by the phase scrambler 66,
                                   Jr                                          and that PS #1, #2, and #3 are merely illustrative examples
                         51 x      3 (mod2Jr) = Jr.
                                                                               of the principles of the invention. The DMT transmitter 22
                                                                               then combines (step 130) the carrier signals to form the
                                                                               transmission signal 38. If the transmission signal is not
  The carrier signal with a carrier number N equal to 0 has no            25   clipped, as described below, the DMT transmitter 22 con-
  phase shift added to the phase characteristic of that carrier                sequently transmits (step 160) the transmission signal 38 to
  signal.                                                                      the remote receiver 34.
  Phase Shifting Example #2                                                    Clipping of Transmission Signals
     Phase shifting example #2 (PS #2) corresponds to adjust-
                                                                                  A transmission signal 38 that has high peak values of
  ing the phase characteristic of the QAM-modulated carrier               30
                                                                               voltage (i.e., a high PAR) can induce non-linear distortion in
  signal associated with a carrier number N by
                                                                               the DMT transmitter 22 and the communication chaunel18.
                                                                               One form of this non-linear distortion of the transmission
                                                                               signal 38 that may occur is the limitation of the amplitude of
                                                                          35   the transmission signal 38 (i.e., clipping). For example, a
                                                                               particular DMT symbol 70 clips in the time domain when
                                                                               one or more time domain samples in that DMT symbol 70
  mod 2Jt, where M is the symbol count. In this example, a                     are larger than the maximum allowed digital value for the
  carrier signal having a carrier number N equal to 50 on DMT                  DMT symbols 70. In multi carrier communication systems
  symbol count M equal to 8 has a phase shift added to the                40   when clipping occurs, the transmission signal 38 does not
  phase characteristic of that carrier signal equal to                         accurately represent the input serial data bit signal 54.
                                                                                  In one embodiment, the DSL communication system 2
                                                                               avoids the clipping of the transmission signal 38 on a DMT
                                         Jr                   Jr               symbol 70 by DMT symbol 70 basis. The DMT transmitter
                      (50 + 8) x         4 (mod 2n) = 2:'
                                                                          45   22 detects (step 140) the clipping of the transmission signal
                                                                               38. If a particular DMT symbol 70 clips in the time domain
                                                                               to produce a clipped transmission signal 38, the DMT
  The carrier signal with the same carrier number N equal to                   transmitter 22 substitutes (step 150) a predefined transmis-
  50 on the next DMT symbol count M equal to 9 has a phase                     sion signal 78 for the clipped transmission signal 38.
  shift added to the phase characteristic of that carrier signal          50      The predefined transmission signal 78 has the same
  equal to                                                                     duration as a DMT symbol 70 (e.g., 250 ms) in order to
                                                                               maintain symbol timing between the DMT transmitter 22
                                                                               and the remote receiver 34. The predefined transmission
                                        Jr                    3Jr
                     (50 + 9) x         4 (mod 2Jr) = 4'                       signal 78 is not based on (i.e., independent of) the modulated
                                                                          55   input data bit stream 54; it is a bit value pattern that is
                                                                               recognized by the remote receiver 34 as a substituted signal.
     Phase shifting example #3 (PS #3) corresponds to adjust-                  In one embodiment, the predefined transmission signal 78 is
  ing the phase characteristic of the QAM-modulated carrier                    a known pseudo-random sequence pattern that is easily
  signal associated with a carrier number N by                                 detected by the remote receiver 34. In another embodiment,
                                                                          60   the predefined transmission signal 78 is an "all zeros" signal,
                                                                               which is a zero voltage signal produced at the DMT trans-
                                                                               mitter 22 output (i.e., zero volts modulated on all the carrier
                                                                               signals). In addition to easy detection by the remote receiver
                                                                               34, the zero voltage signal reduces the power consumption
                                                                          65   of the DMT transmitter 22 when delivered by the DMT
  where X N is an array of N pseudo-random numbers. In this                    transmitter 22. Further, a pilot tone is included in the
  example, a carrier signal having a carrier number N equal to                 predefined transmission signal 78 to provide a reference
Case 1:13-cv-01835-RGA Document 317-2 Filed 06/05/17 Page 10 of 12 PageID #: 9871


                                                      US 7,292,627 B2
                                9                                                                      10
  signal for coherent demodulation of the carrier signals in the
  remote receiver 34 during reception of the predefined trans-
                                                                                                  7r
  mission signal 78.                                                                              3" x(M +N),
     After the remote receiver 34 receives the transmission
  signal 38, the remote receiver 34 determines if the trans-
  mission signal 38 is equivalent to the predefined transmis-
                                                                         mod 2n, where M is the DMT symbol count In this example,
  sion signal 78. In one embodiment, when the remote
                                                                         if the DMTsymbol70 clips when the DMT symbol count M
  receiver 34 identifies the predefined transmission signal 78,
                                                                         equals 5, the predefined transmission signal 78 is transmitted
  the remote receiver 34 ignores (i.e., discards) the predefined    10
                                                                         instead of the current clipped transmission signal 38. On the
  transmission signal 78.
                                                                         following DMT symbol period, the DMT count M equals 6,
     Following the transmission of the predefined transmission           thereby causing a different set of time domain samples to be
  signal 78, the phase scrambler 66 shifts (step 120) the phase          generated for the subsequent DMT symbol 70', although the
  characteristic of the QAM-modulated carrier signals (based             QAM symbols 58 used to produce both DMT symbols 70,
  on one of the predefined parameters that varies over time).       15   70' are the same.
  For example, consider that a set of QAM symbols 58
                                                                            If this different set of time domain samples (and conse-
  produces a DMT symbol 70 comprising a plurality of time
                                                                         quently the transmission signal 38) is not clipped, the DMT
  domain samples, and that one of the time domain samples is
                                                                         transmitter 22 sends the transmission signal 38. If one of the
  larger than the maximum allowed digital value for the DMT
                                                                         time domain samples in the different set of time domain
  symbol 70. Therefore, because the transmission signal 38          20
                                                                         samples 70 (and consequently the transmission signal 38) is
  would be clipped when sent to the remote receiver 34, the
                                                                         clipped, then the DMT transmitter 22 sends the predefined
  DMT transmitter 22 sends the predefined transmission sig-
                                                                         transmission signal 78 again. The process continues until a
  nal 78 instead.
                                                                         DMT symbol 70 is produced without a time domain sample
     After transmission of the predefined transmission signal       25   70 that is clipped. In one embodiment, the transmitter 22
  78, the DMT transmitter 22 again attempts to send the same             stops attempting to produce a non-lipped DMT symbol 70'
  bit values that produced the clipped transmission signal 38            for the particular set ofQAM symbols 58 after generating a
  in a subsequent DMT symbol 70'. Because the generation of              predetermined number of clipped DMT symbols 70'. At that
  phase shifts in this embodiment is based on values that vary           moment, the transmitter 22 can transmit the most recently
  over time, the phase shifts computed for the subsequent           30   produced clipped DMT symbol 70' or the predetermined
  DMT symbol 70' are different than those that were previ-               transmission signal 78.
  ously computed for the DMT symbol 70 with the clipped
                                                                            The PAR of the DSL communication system 2 is reduced
  time domain sample. These different phase shifts are com-
                                                                         because the predefined transmission signal 78 is sent instead
  bined to the phase characteristics of the modulated carrier
                                                                    35   of the transmission signal 38 when the DMT symbol 70
  signals to produce carrier signals of the subsequent DMT               clips. For example, a DMT communication system 2 that
  symbol 70' with different phase characteristics than the               normally has a clipping probability of 10- 7 for the time
  carrier signals of the DMT symbol 70 with the clipped time             domain transmission signal 38 can therefore operate with a
  domain sample.                                                         10- 5 probability of clipping and a lower PAR equal to 12.8
     DMT communication systems 2 infrequently produce               40   dB (as compared to 14.5 dB). When operating at a 10- 5
  transmission signals 38 that clip (e.g., approximately one             probability of clipping, assuming a DMT symbol 70 has 512
  clip every 107 time domain samples 70). However, if the                time-domain samples 70, the DMT transmitter 22 experi-
  subsequent DMT symbol 70' includes a time domain sample                ences one clipped DMT symbol 70 out of every
  that clips, then the predefined transmission signal 78 is again
  transmitted (step 150) to the remote receiver 34 instead of       45
  the clipped transmission signal 38. The clipping time
  domain sample may be on the same or on a different carrier
  signal than the previously clipped DMT symbol 70. The
  DMT transmitter 22 repeats the transmission of the pre-
  defined transmission signal 78 until the DMT transmitter 22       50   or 195 DMT symbols 70. This results in the predefined
  produces a subsequent DMT symbol 70' that is not clipped.              (non-data carrying) transmission signal 78 being transmit-
  When the DMT transmitter 22 produces a DMT symbol 70'                  ted, on average, once every 195 DMT symbols. Although
  that is not clipped, the DTM transmitter 22 transmits (step            increasing the probability of clipping to 10- 5 results in
  160) the transmission signal 38 to the remote receiver 34.             approximately a 0.5% (1;195) decrease in throughput, the
  The probability of a DMT symbol 70 producing a transmis-          55   PAR of the transmission signal 38 is reduced by 1.7 dB,
  sion signal 38 that clips in the time domain depends on the            which reduces transmitter complexity in the form of power
  PAR of the transmission signal 38.                                     consumption and component linearity.
     For example, the following phase shifting example, PST                 While the invention has been shown and described with
  #4, illustrates the method used by the phase scrambler 66 to           reference to specific preferred embodiments, it should be
  combine a different phase shift to the phase characteristic of    60   understood by those skilled in the art that various changes in
  each carrier signal to avoid the clipping of the transmission          form and detail may be made therein without departing from
  signal 38.                                                             the spirit and scope of the invention as defined by the
                                                                         following claims. For example, although the specification
  Phase Shifting Example #4                                              uses DSL to describe the invention, it is to be understood
     Phase shifting example #4 (PS #4) corresponds to adjust-       65   that various form of DSL can be used, e.g., ADSL, VDSL,
  ing the phase characteristic of the carrier signal associated          SDSL, HDSL, HDSL2, or SHDSL. It is also to be under-
  with a carrier number N by                                             stood that the principles of the invention apply to various
Case 1:13-cv-01835-RGA Document 317-2 Filed 06/05/17 Page 11 of 12 PageID #: 9872


                                                        US 7,292,627 B2
                                11                                                                     12
  types of applications transported over DSL systems (e.g.,                modulating an input bit stream, each carrier signal having a
  telecommuting, video conferencing, high speed Internet                   phase characteristic associated with the input bit stream,
  access, video-on demand).                                                wherein the multicarrier modulation transceiver is capable
     What is claimed:                                                      of associating each carrier signal with a value determined
     1. In a multicarrier modulation transceiver having a                  independently of any input bit value carried by that carrier
  plurality of carrier signals for modulating an input bit                 signal, computing a phase shift for each carrier signal based
  stream, each carrier signal having a phase characteristic                on the value associated with that carrier signal and combin-
  associated with the input bit stream, a method for scrambling            ing the phase shift computed for each carrier signal with the
  the phase characteristics of the carrier signals comprising:             phase characteristic of that carrier signal so as to substan-
     associating each carrier signal with a value determined          10   tially scramble the phase characteristics of the plurality of
        independently of any input bit value carried by that               carrier signals.
        carrier signal;                                                       21. The transceiver of claim 20 further comprising a
     computing a phase shift for each carrier signal based on              modulator capable of modulating bits of the input bit stream
        the value associated with that carrier signal; and                 onto the carrier signals having the substantially scrambled
     combining the phase shift computed for each carrier              15   phase characteristics to produce a transmission signal with a
        signal with the phase characteristic of that carrier signal        reduced peak-to-average power ratio (PAR).
        so as to substantially scramble the phase characteristics             22. The transceiver of claim 20 wherein the transceiver
        of the plurality of carrier signals.                               communicates with a second transceiver, and the value
     2. The method of claim 1 further comprising modulating                associated with each carrier signal is independently derived
  bits of the input bit stream onto the carrier signals having the    20   at each transceiver.
  substantially scrambled phase characteristics to produce a
                                                                              23. The transceiver of claim 20 further comprising a
  transmission signal with a reduced peak-to-average power
                                                                           transmitter that transmits the value associated with each
  ratio (PAR).
                                                                           carrier signal from the transceiver to a second transceiver.
     3. The method of claim 1 further comprising indepen-
  dently deriving the value associated with each carrier signal       25
                                                                              24. The transceiver of claim 20 wherein synchronization
  at the first and a second transceiver.                                   is maintained between the transceiver and a second trans-
     4. The method of claim 1 further comprising transmitting              ceiver using the value associated with each carrier signal.
  the value associated with each carrier signal from the first                25. The transceiver of claim 20 wherein the value varies
  transceiver to a second transceiver.                                     with each carrier signal.
     5. The method of claim 1 further comprising maintaining          30      26. The transceiver of claim 20 wherein the value varies
  synchronization between the transceiver and a second trans-              with each DMT symbol.
  ceiver using the value associated with each carrier signal.                 27. The transceiver of claim 20 wherein the value is
     6. The method of claim 1 wherein the value varies with                derived from a predetermined parameter.
  each carrier signal.                                                        28. The transceiver of claim 27 wherein the predefined
     7. The method of claim 1 wherein the value varies with           35   parameter is a carrier number.
  each DMT symbol.                                                            29. The transceiver of claim 27 wherein the predefined
     8. The method of claim 1 wherein the value is derived                 parameter is a symbol count.
  from a predetermined parameter.
                                                                              30. The transceiver of claim 27 wherein the predefined
     9. The method of claim 8 wherein the predefined param-
                                                                      40   parameter is a hyperframe count.
  eter is a carrier number.
     10. The method of claim 8 wherein the predefined param-                  31. The transceiver of claim 27 wherein the predefined
  eter is a symbol count.                                                  parameter is a superframe count.
     11. The method of claim 8 wherein the predefined param-                  32. The transceiver of claim 20 further comprising scram-
  eter is a hyperframe count.                                              bling the bits of the input bit stream.
     12. The method of claim 8 wherein the predefined param-          45      33. The transceiver of claim 20 further comprising trans-
  eter is a superframe count.                                              mitting a predetermined transmission signal when the ampli-
     13. The method of claim 1 further comprising scrambling               tude of the transmission signal exceeds a certain level.
  the bits of the input bit stream.                                           34. The transceiver of claim 33 wherein the predeter-
     14. The method of claim 1 further comprising transmitting             mined transmission signal comprises a predetermined pat-
  a predetermined transmission signal when the amplitude of           50   tern of bits.
  the transmission signal exceeds a certain level.                            35. The transceiver of claim 33 wherein the predeter-
     15. The method of claim 14 wherein the predetermined                  mined transmission signal comprises a pilot tone.
  transmission signal comprises a predetermined pattern of                    36. The transceiver of claim 35 wherein the pilot tone is
  bits.                                                                    used to maintain timing synchronization between the first
     16. The method of claim 14 wherein the predetermined             55   transceiver and a second transceiver.
  transmission signal comprises a pilot tone.
                                                                              37. The transceiver of claim 34 wherein each bit value in
     17. The method of claim 16 wherein the pilot tone is used
                                                                           the predetermined pattern of bits is a zero value.
  to maintain timing synchronization between the first trans-
  ceiver and a second transceiver.                                            38. The transceiver of claim 34 wherein the predeter-
     18. The method of claim 15 wherein each bit value in the         60   mined pattern of bits is a pseudo-random sequence pattern.
  predetermined pattern of bits is a zero value.                              39. The transceiver of claim 20 wherein the multi carrier
     19. The method of claim 15 wherein the predetermined                  modulation transceiver communicates with a second trans-
  pattern of bits is a pseudo-random sequence pattern.                     ceIver.
     20. A multicarrier modulation transceiver that uses a
  transmission signal having a plurality of carrier signals for                                  * * * * *
    Case 1:13-cv-01835-RGA Document 317-2 Filed 06/05/17 Page 12 of 12 PageID #: 9873

                              UNITED STATES PATENT AND TRADEMARK OFFICE
                                   CERTIFICATE OF CORRECTION
PATENT NO.                  : 7,292,627 B2                                                                                       Page 1 of 1
APPLICATION NO.             : 111211535
DATED                       : November 6, 2007
INVENTOR(S)                 : Marcos C. Tzannes

It is certified that error appears in the above-identified patent and that said Letters Patent is hereby corrected as shown below:


         Title Page, please add the provisional application data beneath the continuation application data:

         Related U.S. Application Data:

         Provisional application No. 601164,134, filed Nov. 9, 1999.




                                                                                      Signed and Sealed this
                                                                                   First Day of February, 2011


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                                                                                                    David J. Kappos
                                                                               Director of the United States Patent and Trademark Office
